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     MEENAKSHI OVERSEAS, LLC.
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14
                          UNITED STATES DISTRICT COURT
15            FOR THE EASTERN DISTRICT OF CALIFORNIA (SACRAMENTO)

16   V.V.V. & SONS EDIBLE OILS, LTD.,               )   CASE 2:14-CV-02961-TLN-CKD
                                                    )
17                                                  )   [Magistrate Judge: Carolyn K. Delaney]
                   Plaintiff,                       )   [District Judge: Troy L. Nunley]
18                                                  )
            vs.                                     )
19                                                  )   JOINT STIPULATION TO VACATE
     MEENAKSHI OVERSEAS, LLC.,                      )   PRETRIAL SCHEDULE ORDER
20                                                  )   PENDING OUTCOME OF
                                                    )   DISPOSITIVE MOTION AND
21                 Defendant.                       )   ORDER
                                                    )
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23
            After entry of the Court’s Pretrial Scheduling Oder of July 7, 2020 (ECF 70), Plaintiff
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     filed an Amended Complaint (ECF 71). Defendant has filed a dispositive motion seeking, inter
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     alia, dismissal of the Amended Complaint (ECF 73). Plaintiff filed a timely opposition (ECF
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27   75), and the motion is now fully briefed. See Reply (ECF 76). The court took that matter under

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       JOINT STIPULATION TO VACATE PRETRIAL SCHEDULE ORDER PENDING OUTCOME OF DISPOSITIVE
                                        MOTION AND ORDER
            Case 2:14-cv-02961-TLN-CKD Document 79 Filed 10/26/20 Page 2 of 3


1    submission without further briefing. See Minute Order (ECF 77). As a result, Counsel for the

2    parties have jointly agreed to stipulate to vacating the Courts Pretrial Scheduling Order for good
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     cause to afford the Court time to decide the motion without the parties incurring potentially
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     unnecessary costs, should the Court grant the motion, while ensuring that Plaintiff is not unduly
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     prejudiced by having a shortened period within which to complete discovery. It is requested that
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7    this Court order another Pretrial Schedule should Defendant's motion not be granted.

8             Upon e-filing the joint request and proposed order, the proposed order has been emailed
9
     in accordance with Local Rule 137(b), for review and approval to tlnorders@caed.uscourts.gov.
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11
                                                   Respectfully requested by the undersigned, on
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                                                   behalf of the parties jointly,
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     DATED: October 23, 2020
14                                         By:     /s/ Kenneth C. Brooks
                                                   Kenneth C. Brooks, Esq.
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                                                   Attorney for Plaintiff
16
     DATED: October 23, 2020
17                                         By:     /s/ Robert M. Wilson
                                                   Robert M. Wilson, Esq.
18
                                                   Attorney for Defendant
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        JOINT STIPULATION TO VACATE PRETRIAL SCHEDULE ORDER PENDING OUTCOME OF DISPOSITIVE
                                         MOTION AND ORDER
        Case 2:14-cv-02961-TLN-CKD Document 79 Filed 10/26/20 Page 3 of 3


1                                                  ORDER

2           Good cause for vacating the pretrial order exists due to the dispositive nature of the
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     motion, pending a ruling on the motion, the need for the parties to avoid unnecessary cost of
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     litigation without knowing the scope and nature of the issues, if any, subject to litigation, the
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     joint request by the parties and stipulation thereto to vacate the Pretrial Scheduling Order of July
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7    7, 2020 (ECF 70) is hereby GRANTED.

8    IT IS SO ORDERED.
9
            Dated: October 23, 2020
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11                                                            Troy L. Nunley
                                                              United States District Judge
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       JOINT STIPULATION TO VACATE PRETRIAL SCHEDULE ORDER PENDING OUTCOME OF DISPOSITIVE
                                        MOTION AND ORDER
